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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION


 MARC VEASEY, et al.,

                        Plaintiffs,

                v.                                        Civil Action No. 2:13-cv-193 (NGR)

 GREG ABBOTT, et al.,

                        Defendants.



           PRIVATE PLAINTIFFS’ UNOPPOSED MOTION FOR
FURTHER EXTENSION OF THE DEADLINE FOR FILING REPLY IN SUPPORT OF
       MOTIONS FOR ATTORNEYS’ FEES, EXPENSES, AND COSTS

       Private Plaintiffs respectfully move this Court for a further extension of the deadline to file

replies in support of their motions for attorneys’ fees, expenses, and costs until February 7, 2020.

Counsel for Private Plaintiffs is requesting this extension because of the need for sufficient time

to carefully review and adequately respond to the extensive opposition brief filed by Texas and

the more than forty exhibits submitted in support thereof. Texas does not oppose this extension.

Date: January 13, 2019                        Respectfully submitted,

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                            CERTIFICATE OF SERVICE

      I hereby certify that on January 13, 2019, a true and correct copy of the foregoing
document was served via the Court’s ECF system to all counsel of record.


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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION


 MARC VEASEY, et al.,

                       Plaintiffs,

                v.                                     Civil Action No. 2:13-cv-193 (NGR)

 GREG ABBOTT, et al.,

                       Defendants.



  [PROPOSED] ORDER ON PRIVATE PLAINTIFFS’ UNOPPOSED MOTION FOR
 FURTHER EXTENSION OF THE DEADLINE FOR FILING REPLIES IN SUPPORT
       OF MOTIONS FOR ATTORNEYS’ FEES, EXPENSES, AND COSTS

       Having considered Private Plaintiffs’ Unopposed Motion for Further Extension of the

Deadline for Filing Replies in Support of Motions for Attorneys’ Fees, Expenses, and Costs, the

Court finds that the Motion should be, and hereby is, GRANTED. The deadline to file all reply

briefs in support of Motions for Attorneys’ Fees, Expenses, and Costs is February 7, 2020.



So ORDERED this ___ day of January, 2020.


                                                    ______________________________
                                                    The Honorable Nelva Gonzales Ramos
                                                    United States District Judge
